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                                                                                Jeremy M. Creelan
September 6, 2024                                                               Tel +1 212 891 1678
                                                                                JCreelan@jenner.com
VIA ECF
The Honorable LaShann DeArcy Hall
U.S. District Court, Eastern District of New York
Courtroom 4H North
225 Cadman Plaza East
Brooklyn, NY 11201


Re:       Arbeeny et al. v. Cuomo et al., No. 22-cv-2336
          Notice of Potentially Related Case


Dear Judge DeArcy Hall:

        We represent Defendants Greater New York Hospital Association and Kenneth Raske in
this action. Pursuant to the obligations imposed by Local Civil Rule 1.6, we respectfully write on
behalf of all named defendants to advise the Court of a potentially related case, Alexander v.
Cuomo et al., No. 24-cv-2179, currently pending before Judge Merle in this district. These two
cases involve the same named defendants and certain similar factual allegations and partially
overlapping legal claims, and therefore may meet the standard for relatedness under Rule 3(a) of
the Court’s Rules for the Division of Business. We are simultaneously informing Judge Merle of
the existence of this case by letter today, which is also the deadline for the defendants to answer
or otherwise respond to the Complaint in Alexander.


                                                               Respectfully submitted,
                                                               /s/ Jeremy M. Creelan

                                                               Counsel for Defendants Greater New York
                                                               Hospital Association and Kenneth Raske


cc: All Counsel of Record (by ECF)




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